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16
17                       IN THE UNITED STATES DISTRICT COURT

18                            FOR THE DISTRICT OF ARIZONA

19
     United States of America,                             No. CR-18-00422-PHX-SMB
20
                          Plaintiff,                    UNITED STATES’ MOTION TO
21                                                        EXTEND DEADLINE FOR
              v.                                        RESPONSE TO DEFENDANTS’
22                                                      MOTION TO DISMISS (Doc. 940)

23   Michael Lacey, et al.,                                        (First Request)

24                        Defendants.

25
26         The United States moves for an extension of time to file its response to Defendants’
27   Motion to Dismiss, which Defendants filed on May 1, 2020. (Doc. 940.) The current
28   deadline is May 15, 2020. The United States requests a brief extension to and including
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 1   June 5, 2020. Counsel for the United States sought Defendants’ position on this brief
 2   extension via email. As of this filing, the government has heard from counsel for every
 3   Defendant except Vaught. Counsel for Larkin, Lacey, Spear, Brunst, and Padilla take no
 4   position on the government’s request.
 5          Good cause exists to grant the government a brief extension. First, the government
 6   has not had an opportunity to begin analyzing Defendants’ motion in any detail, because it
 7   has been working on filing responses to Defendants’ seven motions in limine, which will
 8   be filed today, May 8, 2020. Second, as the Court notes, this motion is Defendants’ sixth
 9   motion to dismiss. (Doc. 951.) This particular motion, however, was filed months after
10   the substantive motions deadline. (Doc. 664 (October 18, 2019 deadline).) And two weeks
11   after the motion in limine deadline. (Doc. 900.) The government was planning on shifting
12   its focus from motion practice to finalizing the proposed jury instructions, verdict form,
13   voir dire, and the statement of the case, along with preparing witnesses for trial. (See id.)
14   The additional time is therefore necessary to provide the government sufficient time to
15   analyze Defendants’ latest motion to dismiss and respond to its allegations.
16          The government requests a brief extension to file its response to Defendants’ Motion
17   to Dismiss to and including June 5, 2020. A proposed form of Order is lodged herewith.
18          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
19   an order based thereon.
20          Respectfully submitted this 8th day of May, 2020.
21                                             MICHAEL BAILEY
                                               United States Attorney
22                                             District of Arizona
23                                             s/ Andrew C. Stone
                                               KEVIN M. RAPP
24                                             MARGARET PERLMETER
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 5
 6
                                  CERTIFICATE OF SERVICE
 7          I hereby certify that on this 8th day of May, 2020, I electronically transmitted the
     attached document to the Clerk’s Office using the CM/ECF System for filing and
 8   transmittal of a Notice of Electronic Filing to the CM/ECF registrants who have entered
     their appearance as counsel of record.
 9
     s/ Marjorie Dieckman
10   U.S. Attorney’s Office
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